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  Domb Declaration

               Exhibit 20
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                    (http://www.burfordcapital.com/)




  FAQS
  What does Burford do?

  Burford Capital is a leading global finance and professional services firm focused on law. Burford’s
  businesses include litigation finance, insurance and risk transfer, law firm lending, corporate
  intelligence and judgment enforcement, advisory and professional services and a wide range of
  investment activities. Burford’s equity and debt securities are publicly traded on the London Stock
  Exchange, and it works with lawyers and clients around the world from its principal offices in New
  York and London.

  What is litigation finance?

  Litigation finance joins two things that have historically been thought of as separate: corporate
  finance and litigation. But there is no reason for them to be.

  Litigation and arbitration claims are assets—“choses in action”, if one wants to get technical. They are
  just as much corporate assets as other intangible or contingent assets, like receivables or intellectual
  property.

  And that opens an exciting opportunity for clients and lawyers: to treat claims as assets with upside
  potential, not as burdensome expenses.

  We provide a broad range of corporate finance solutions to firms and clients engaged in significant
  commercial litigation and arbitration around the world. Burford helps:

    • Fund clients’ litigation fees—including full fees, partial fees, or case expenses—as plaintiff or
      defendant
    • Finance portfolios of pending litigation
    • Transfer risk in contingent or conditional fee arrangements
    • Monetize contingent fee or conditional positions at the beginning of a case or after judgement or
      appeal to minimize risk or generate capital
    • Secure corporate debt facilities linked to a legal claim
    • Finance, sell, or collect uncollected judgements
    • Secure litigation-related insurance and risk solutions
    • Accelerate receipt of fees

  In the US, we also provide direct loans to qualified law firms. In the UK, we provide insurance for
  adverse costs (or ATE insurance).

  Who uses litigation finance?




http://www.burfordcapital.com/faqs/                                                                     8/8/2015
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  Litigation finance can help in many situations. For example:

    • A client with a meritorious case may ask its hourly firm for alternative fee arrangements—and
      need an outside funder’s help to do so
    • A firm that embraces contingent work or alternative fee arrangements may surpass the financial
      risk they’re able or willing to bear—and seek the partnership of a litigation financier
    • A client or firm may need funding for case expenses
    • A company may need to unlock the value of pending litigation or arbitration to lower its cost of
      borrowing
    • In-house counsel may need a solution to manage all legal costs—including defence
    • CFOs and financial executives, seeing the negative accounting impact of litigation expenses on
      their balance sheets, may seek a better solution

  What are Burford’s requirements for basic litigation case funding?

  Although Burford does a good deal more than just fund individual cases, we do provide financing for a
  wide variety of meritorious commercial litigation and arbitration with high quality counsel around the
  world.

  Beyond being comfortable with the merits of the matter and the quality and experience of the
  lawyers, Burford doesn’t apply formulaic tests to its activities. There is no magic “% likelihood of
  success” or ratio of expected costs to damages. Rather, we look at each matter as a potential
  investment and consider its risk profile, likely duration, and other factors.

  That said, it is difficult for us to finance cases that are likely to have relatively low damages and
  relatively high costs, because there simply won’t be room in such a case for a return on our capital
  investment while still providing satisfactory compensation for the claimant.

  It would be unusual for us to invest less than $2 million in a matter, and our average investment is
  considerably higher – more than $8 million currently. This is the amount of capital we are investing,
  not the size of the total case damages, which thus need to be considerably larger. There is no upper
  limit on the amount we are able to invest and we regularly make investments in the teens and
  twenties of millions of dollars.

  Are there cases Burford will not fund?

  The size of Burford’s investments, as described above, naturally excludes many types of litigation that
  is simply too small for our business model. Moreover, absent very unusual circumstances, Burford will
  not fund:

    • Litigation involving personal injury (such as medical malpractice or personal loss), divorce, and
      defamation cases
    • Litigation where something other than economic redress is in issue (such as litigation brought for
      policy or strategic reasons)
    • US patent litigation involving single patents or single infringement claims

  Will Burford fund a personal or individual case when litigation finance is needed?

  No. We are not a provider of personal or individual finance. If you wish to seek personal financing,
  consult with your attorney.




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  What can Burford financing be used for?

  We fund commercial cases at any stage of the litigation process, and provide financing that helps
  clients pay fees to their firm of choice or cover expenses associated with litigation. Our investment can
  be used to cover some or all of the lawyer fees and expenses of a lawsuit, to cover the costs of
  insurance related to a proceeding, to monetize a claim, or purchase a judgement. For law firms, our
  capital can be used to fund the expenses in a case that is being done on a contingent basis, to offer a
  partial contingency, or to provide working capital secured by the results of a pool of contingent fee
  matters.

  Typically, we provide financing in the form of a non-recourse investment, for a portion of the
  settlement or award should the case be successful. Should the case be unsuccessful, Burford loses its
  investment, so capital is priced accordingly.

  We often provide financing across a portfolio of litigation matters, enabling businesses to manage risk
  across multiple actions. Burford’s terms for portfolio financing vary widely, depending not only on the
  strength and stage of the underlying cases, but also whether a transaction would be based on the
  outcome of only one case or a pool of cases. High risk matters such as international arbitration,
  insolvency, and patents are particularly amenable to portfolio financing. Because risk is diversified,
  Burford can offer better pricing for capital.

  In the UK, we also offer insurance to cover adverse costs, or ATE insurance.

  What sets Burford apart from its competitors?

  Firms conducting due diligence consistently identify these and other differentiators that make Burford
  the leading litigation financier:

    • Capital: Burford has raised over $500 million and is traded on the London Stock Exchange. Having
      our own permanent capital means we can make substantial investments and we can move quickly
      (we’ve closed and funded investments in days). It also means we are not subject to the limitations
      and restrictions of private investment funds.
    • Experience: Leaders in the economics of litigation finance and creative deal structuring, Burford is
      staffed by lawyers and investment bankers with expertise in underwriting a wide range of complex
      matters. Co-founded by a former general counsel of Time Warner and a Georgetown University law
      professor, we’re veterans of Cravath, Latham, Debevoise, Olswang, Freshfields, Credit Suisse, Merrill
      Lynch, and other top-performing firms.
    • Innovation: Burford goes beyond what people think litigation finance can do—far beyond the many
      “outside funders” merely able to pay the legal expenses of a given claim. We innovate solutions to
      address firms’ and clients’ unique needs, and we work with them at any stage in the litigation cycle.
    • Agility: Because we’ve built the finest in-house team in the field, we’re able to assess very quickly
      whether and how to finance a deal. And because we invest our own money, our clients don’t wait
      for us to raise funds to finance their needs.

  Does Burford manage or control litigation?

  We don’t get any rights to manage the litigation in which we invest. Just as a leasing company does
  not tell you how to drive your car, we don’t drive the litigation. Nor do we get any rights to control the
  settlement of the litigation, which remains wholly in the litigant’s control. And the courts have been
  clear about the legality of this business.




http://www.burfordcapital.com/faqs/                                                                   8/8/2015
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  Does this impact attorney-client relationships or work product?

  Our passive role as an outside investor does not in any way alter attorney-client relationships or put
  work product at risk. The policy underlying the work product doctrine and court decisions that have
  thoroughly considered the matter consistently permit litigation financiers to access work product
  without any waiver of work product protection.

  Does litigation finance offer accounting benefits?

  Clients are required to record litigation costs as immediate expenses, damaging their performance.
  Litigation finance is a solution to the challenge of helping clients overcome overwhelming case
  expenses—both because it provides a means of managing how those expenses are paid and because
  it avoids the injurious accounting rules for recording litigation expenses. Burford’s team is adept at
  unlocking the value of litigation assets—and we’re also sensitive to the impact of litigation expenses
  on balance sheets.

  What are the terms of Burford’s investments?

  Our capital is almost always non-recourse—meaning that we do not earn an investment return if the
  underlying litigation is unsuccessful.

  What does litigation finance cost?

  We are extraordinarily flexible and approach every investment with terms tailored to meet your needs
  and ours. Our individually negotiated investment transactions often entitle us to the return of our
  invested capital, a minimum return on that capital, and a portion of the total proceeds of the litigation.
  We use other structures, too, especially for investments where the litigation is well advanced. For
  example, we will make investments based on existing judgements where we seek a fixed return on our
  capital as opposed to a portion of the ultimate recovery. For law firms, we can provide financing on a
  fixed return basis.

  Our capital is expensive, with Burford’s overall financial return expectations consistent with private
  equity and venture capital funds, not commercial banks.

  Does Burford receive any rights to manage litigation?

  No, Burford does not have any right to manage clients’ litigation. Burford is simply a passive provider
  of corporate finance and investment capital.

  Does Burford control the settlement of litigation?

  No, settlement remains in the litigant’s control.

  At what stage does Burford provide financing?

  We are open to applying finance at any stage in the litigation cycle. We’ve made investments at a
  case’s commencement, pre-trial, pre-appeal, and post-judgement.

  Does Burford have capital immediately available to invest?




http://www.burfordcapital.com/faqs/                                                                  8/8/2015
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  Yes. Burford has more than $500 million devoted solely to litigation and arbitration. Other litigation
  finance providers may have to go to market to raise capital for each opportunity they consider, which
  takes time. Burford makes its own investment decisions and can transfer funds as soon as an
  agreement is in place.

  Does Burford make investment decisions to deploy capital itself, or does some third party have a say?

  We make our own decisions, internally.

  Who performs diligence on matters that Burford considers funding?

  Doing our own diligence is core to our business model. Our experienced team of litigators and trial
  lawyers has tried cases and managed massive corporate litigation portfolios.

  How many litigation-related investments has Burford made?

  Burford has made almost 100 investments. Our investment position is publicly reported and is
  currently available in the Investor Relations section of this website.

  What is publicly known about Burford’s capital, investments, and performance?

  We are publicly traded on the London Stock Exchange’s AIM market (BUR:LN). We release regular
  financial and investment information, all of which can be found in the Investor Relations section of
  this website. We’re audited by Ernst & Young.




                                                                                                 Search


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   Anti-Bribery and Anti-Corruption Policy Statement (http://www.burfordcapital.com/anti-bribery-anti-
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